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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiff,                                        8:18CR314

        vs.
                                                                           ORDER
BILLY ADELL, III,

                        Defendant.

       This matter is before the court on defendant's Motion to Extend Time to File Pretrial
Motions [33]. For good cause shown, I find that the motion should be granted. The defendant
will be given an approximate 14-day extension. Pretrial motions shall be filed by January 9, 2019.
       IT IS ORDERED:
       1.      Defendant's Motion to Extend Time to File Pretrial Motions [33] is granted.
Pretrial motions shall be filed on or before January 9, 2019.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between today’s date and January 9, 2019, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for the
reason defendant's counsel requires additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       Dated this 27th day of December, 2018.

                                                       BY THE COURT:


                                                       s/ Susan M. Bazis
                                                       United States Magistrate Judge
